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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

ANTONIO AGUIRRE CHAVEZ, et al.,

                Plaintiffs,

v.                                                      No. CV 20-1050 MV/CG

WPX ENERGY PERMIAN, LLC, et al.,

                Defendants.

                 ORDER GRANTING MOTION TO EXTEND DEADLINES

        THIS MATTER is before the Court on the parties’ Third Joint Motion to Extend

Discovery Deadline (the “Motion”), (Doc. 59), filed October 8, 2021. The Court has

previously extended the discovery deadlines due to changes in counsel, deposition

scheduling issues, and delays in obtaining relevant medical records. See (Doc. 54);

(Doc. 57). In the Motion, the parties explain that they have been “diligently working to

complete discovery” but still need to conduct the 30(B)(6) deposition of WPX and the

deposition of Jammie Hobbs, complete the 30(B)(6) deposition of B&B Welding, and

obtain the workers’ compensation insurers’ file. (Doc. 59 at 1). The parties believe that

the depositions “will be set for the end of November.” Id. As a result, the parties request

to modify the dates and deadlines set forth in the Court’s prior Order Granting Motion to

Extend Deadlines, (Doc. 54). The Court, having reviewed the Motion and noting it was

filed jointly, finds the Motion is well-taken and shall be GRANTED.

        IT IS THEREFORE ORDERED that the Court’s Order Granting Motion to Extend

Deadlines, (Doc. 57), shall be modified as follows:

     1. The deadline for completion of discovery shall be extended to November 30,

        2021;
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2. The deadline for discovery motions shall be extended to December 21, 2021;

3. The deadline for other pretrial motions shall be extended to January 15, 2022.

4. The deadline for the plaintiffs’ pretrial order shall be extended to February 14,

   2022;

5. The deadline for the defendants’ pretrial order shall be extended to February 28,

   2022.

   All other deadlines remain in effect unless amended by further order of the Court.

   IT IS SO ORDERED.




                               THE HONORABLE CARMEN E. GARZA
                               CHIEF UNITED STATES MAGISTRATE JUDGE




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